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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA            )
                                    )
                                    )
v.                                  )       Case No. 22-cr-00070
                                    )
LUCAS DENNEY                        )
                                    )
                  Defendant         )
                                    )



            DEFENDANT LUCAS DENNEY’S NOTICE OF APPEAL

      Pursuant to Federal Rule of Appellate Procedure 4(b), notice is hereby

given that Defendant Lucas Denney, hereby appeals to the United States Court

of Appeals for the District of Columbia Circuit from the Judgment of this Court

entered on October 24, 2022.



Dated: October 31, 2022                     Respectfully submitted,

                                    /s/ William L. Shipley
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